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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                                 Dallas Division

INMAR RX SOLUTIONS, INC.,                 )
                                          )
                  Plaintiff,              )
                                          )
      v.                                  )              No. 3:23-cv-2883-E
                                          )
MERRICK B. GARLAND et al.,                )
                                          )
                  Defendants.             )
__________________________________________)

                                  [PROPOSED] ORDER

       Before the Court is Defendants’ Motion to Accept Motion to Dismiss. Upon consideration

of the motion, it is hereby granted. The Motion to Dismiss is accepted as having been filed on

September 6, 2024.



IT IS SO ORDERED.

SIGNED: __________ ____, 2024.



                                                  ______________________________
                                                  Hon. Ada Brown
                                                  United States District Judge
